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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELA\ryARE

In re                                                         Chapter    11


ARGOS THERAPEUTICS, TNC.
                                        I
                                                              Case   No.   18-_ (J
                            Debtor



                DECLARATION OF MATTHE\ü FOSTER IN SUPPORT OF THE
               DEBTOR'S CHAPTER 11 PETITION AND FIRST DAY PLEADINGS

                   I, Matthew Foster, hereby declare as follows:

          1.       I   am the Chief Restructuring Officer of Argos Therapeutics, Inc. ("Argos" or the

"Company") the above captioned debtor and debtor-in-possession (the "Debtor").                            I   started

providing advisory services to the Company in July 2018 and joined its management team                            as


Chief Restructuring Officer in November 2018. In these capacities,                     I   have become and am

familiar with the Debtor's businesses, day-to-day operations and financial affairs.

          2.       On the date hereof (the "Petition Date"), the Debtor filed a voluntary petition for

relief under chapter 11 (the                11 Cas       of title 11 of the United States Code, 11 U.S.C.         $$

I0I,    et seq. (as amended or modified, the "Bankruptc)¡ Code") in the United States Bankruptcy

Court for the District of Delaware (the "Court") and filed various motions described herein

requesting certain relief      in connection with the Chapter 11 Case (collectively, the "First Day

Pleadings"). I submit this declaration (the "Ðççlaratþn") in support of the Debtor's Chapter 11

Case and the First Day Pleadings.

          3.       Except as otherwise indicated herein, all statements set forth in this Declaration are

based upon (a) my personal knowledge gained                  in rny    capacity as an officer       of Argos;     (b)


I
 The last four digits of the Debtor's federal tax identifìcation number are 0007. The Debtor's corporate headquarters
and mailing a<ldress is 4233 Technology Drive, Durham, NC 27704.



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information provided to me by other members of Argos' management team, including those under

my supervision; (c) my review of relevant documents; arrdlor (d) my experience and knowledge

of the Argos' operations and financial affairs. If called upon to testify, I could and would testify

to the facts set forth in this Declaration.

             4.           Part   I of this Declaration   describes the Debtor's businesses, Part   II   describes the

circumstances giving rise to the commencement of this Chapter 11 Case, Part                    III      describes the

Debtor's proposed course for this Chapter 11 Case, and Part IV sets forth certain facts in support

of the First Day Pleadings.

                                                               I.

                                   OVERVIE\ry OF THE DEBTOR'S BUSINESSES

            Busíness Operøtìons

             5.           Incorporated in the State of Delaware in 1997 and headquartered in Durham, North

Carolina, Argos                  is an immuno-oncology         company focused       on the development          and

commercialization of individualized immunotherapies for the treatment of cancer and infectious

diseases using             its Arcelis@ technology platform.           Arcelis@   is a precision immunotherapy
technology that captures the spectrum of mutated (or neoantigens) and variant antigens that are

specific to each patient's individual disease. Arcelis@ was designed by Argos to overcome

immunosuppression by enabling specifically targeted, durable memory T-cells without adjuvants

that may be associated with toxicity. This platform technology is potentially applicable to the

treatment of a wide range of different cancers and infectious diseases, and is specifically designed

to overcome many of the manufacturing and commercialization challenges that have impeded

other perso nalized immunotherapies.

            6.        Prior to the Petition Date, the Company's most advanced product                      candidate,

rocapuldencel-T, was being evaluated in the ADAPT (as defined below) Phase 3 clinical trial for


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the treatment of metastatic renal cell carcinoma (mRCC). In addition, rocapuldencel-T is being

studied    in   Phase     2 investigator-initiated clinical trials as neoadjuvant therapy for renal cell
carcinoma (RCC) and for the treatment of non-small cell lung cancer (NSCLC). Argos also has

been developing a separate Arcelis@-based product candidate, AGS-004, for the treatment                      of

human immunodeficiency virus (HIV), which is currently being evaluated in an investigator-

initiated Phase 2 clinical trial aimed at HIV eradication in adult patients.

         7.        Because the Company's product candidates remain               in the developmental stage,

Argos' primary sources of revenues have traditionally derived from (a) third-party license

agreements; (b) govemment entity sponsored grants; and (c) capital raising activities. During the

year ending December 31,2017, the Company recorded a net loss                        of   approximately $40.6

million.

         8.        The Company cuffently employs three (3) employees as of the Petition Date.

         Capitøl Structure

         9.            As of the Petition Date, the Debtor has outstanding debt obligations in             the

aggregate principal amount          of $21 million,      consisting   of   approximately (a) $6.6 million in

secured first   priority notes secured by    a   first priority lien on the Debtor's intellectual property; (b)

$11.6 million in unsecured note obligations; and (c) $2.6 million owed to vendors, licensees and

other unsecured creditors. As of the Petition Date, the Debtor is currently holding $4.3 million in

cash and cash equivalents that is unencumbered by any security interest.

         Secured Debt

         10.           On June 15,2017, the Debtor entered into a note purchase agreement (the "Note

Purchase                       with Pharmstandard International, S.A. ("Pharmstandard"), pursuant to

which the Debtor agreed to issue and sell to Pharmstandard that certain Secured Convertible




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Promissory Note, dated as of June 21, 2017 , in the original principal amount of $6.0 million (the

"Pharmstandard             Note"). As of the Petition         Date, the amount outstanding under the

Pharmstandard Note was approximately $6.6 million, including accrued but unpaid interest and

fees.

             11.       Under the Pharmstandard Note, the maturity date for the payment of principal and

interest is June 21,2022. The Pharmstandard Note bears interest at arate of 9.5% per annum,

which interest compounds annually. The Pharmstandard Note is secured by a lien on and security

interest in all of the Debtor's intellectual property, pursuant to that certain Security Agreement by

and between the Debtor and Pharmstandard, dated as                       of   June 21, 2017 (the "Security

Agreement"). The liens granted to Pharmstandard under the Security Agreement are limited to

the Debtor's intellectual property and do not attach to any of the Debtor's other assets, including

cash. The Debtor may prepay the Pharmstandard Note in whole or in part at any time without

penalty or premium. Upon the occurrence of certain events of default, Pharmstandard will have

the option to require the Debtor to repay the unpaid principal amount of the Pharmstandard Note

and any unpaid accrued interest. As of the Petition Date, the Debtor was not in default under the

terms of the Pharmstandard Note.2

             Unsecured Debt

             12. As of the Petition        Date, the Debtor estimates that its unsecured debt totals

approximately $14.2 million, consisting             of   unsecured promissory notes, contractual license

obligations and trade debt.




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  Pharmstandard's conversion election is subject to certain conditions. Pharmstandard may çonvert the entire
principal and interest on the Pharmstandard Note into shares of the Debtor's common stock at a price equal to $10.00
per share. To date, Pharmstandard has not converted any portion of the Pharmstandard Note to equity.



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            Invetech Unsecured Note Oblìgøtíon

            13.       On September 22,2017, as a resolution of certain contracted disputes with

Invetech, the Debtor entered into a satisfaction and release agreement (the "Invetech Satisfaction

and Release Aqreement") with Invetech Pty               Ltd ("Invetech"). Pursuant to the Invetech
Satisfaction and Release Agreement, the Debtor agreed to make, issue and deliver to Invetech

(a)    a   cash payment       of   $500,000; (b) 57,142 shares   of   common stock; and (c) that certain

Convertible Promissory Note (the "Invetech Note") in the original principal amount               of $5.2

million. The          obligations    of the Debtor evidenced in the Invetech     Satisfaction and Release

Agreement and Note represented the full satisfaction and release of all of the Debtor's payment

obligations to Invetech arising under the Debtor's development agreement with Invetech prior to

the date of the Invetech Satisfaction and Release Agreement, including the Debtor's obligation to

pay Invetech up to a total of $8.3 million in deferred fees, bonus payments and accrued interest.

As of the Petition Date, the amount outstanding under the Invetech Note was approximately $4.9

million, including accrued but unpaid interest.

            Saint Gobøín Unsecured Note Oblígøtíon

            14.      On November 22,2017, the Debtor entered into a satisfaction and              release

agreement         (the "Saint-Gobain Satisfaction and Release Agreement") with              Saint-Gobain

Performance Plastics Corporation ("Saint-Gobain") as a resolution of certain contracted disputes

with Saint-Gobain. Under the Saint-Gobain Satisfaction and Release Agreement, the Debtor

agreed to make, issue and deliver to Saint-Gobain (a) a cash payment              of $500,000, (b) 34,499

shares      of common stock, (c) that certain unsecured Convertible Promissory Note (the "Saint-

Gobain Note"              in the original principal amount of    $2.4 million, and (d) certain specified

equipment originally provided to the Debtor by Saint-Gobain under the development agreement




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with Saint-Gobain, or the ("Saint-Gobain Development Asreement"). The obligations of the

Debtor evidenced in the Saint-Gobain Note represented the full satisfaction and release of all               of

the Debtor's payment obligations to Saint-Gobain arising under the Saint-Gobain Development

Agreement, prior to the date of the Saint-Gobain Satisfaction and Release Agreement, including

certain development fees and charges.                In   connection   with entering into the   Saint-Gobain

Satisfaction and Release Agreement, the Company and Saint-Gobain entered into an amendment

to the Saint-Gobain Development Agreement to extend the term to December 31, 2019. As of the

Petition Date, the unpaid principal balance under the Saint-Gobain Note is approximately $1.7

million, including accrued but unpaid interest.

            Medínet Unsecured Note Oblígatíon

            15.        In December 2013, in connection with a license agreement with Medinet Co. Ltd.

("Medinet") for certain intellectual property of the Debtor in Japan, the Debtor borrowed $9.0

million pursuant to an unsecured Promissory Note (the "Medinet Note") that bears interest at                   a


rate   of   3.0o/o    per annum. The principal and interest under the note are due and payable on

December 31, 2018. Over the course of the license agreement with Medinet, the Debtor has

achieved certain performance milestones that have entitled                 it to various   reductions   in   the

outstanding principal balance of the Medinet Note. As of the Petition Date, the unpaid principal

balance under the Medinet Note is approximately $5                million. Under the terms of the license
agreement with Medinet,          if   the Debtor fails to satisfy the Medinet Note in fuIl by December 31,

2018, the Medinet Note           will be extinguished and the Medinet License will convert Io a fully-

prepaid non-exclusive license. The Debtor intends to reject the Medinet License as of the Petition

Date, which rejection the Debtor has determined in its reasonable business judgment is in the best

interests of the Debtor's estate. Medinet            will   have an opportunity to make an election under




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section 365(n) of the Bankruptcy Code upon such rejection, and Medinet              will be deemed, absent

any election, to have elected to retain its rights under section 365(nX1XB) of the Bankruptcy

Code.

            Equíty

           16.       The Debtor       is a publicly   traded company with 10,586,66I shares currently

outstanding. Until Apnl 23, 2018, the Debtor's shares were traded on the NASDAQ exchange.

On April 23,2018, the Debtor received a notification from NASDAQ the Company's common

stock would be de-listed as of the open of business on April 25, 2018. Following such delisting,

the Company transferred its common stock to the OTCQB@ Venture Market.

                                                          il.
                               EVENTS LEADING TO                 CHAPTB,R 11 CASE

            ADAPT Trìøl Setback

            17.      Beginning in2015, the Company conducted a pivotal Phase 3 clinical trial of

rocapuldencel-T           in   combination with sunitinib/standard   of   care for the treatment   of newly

diagnosed metastatic renal cell carcinoma (the                  "ADAPT    trial"). In   February 2017, the

independent data monitoring committee ("IDMC") for the ADAPT trial recommended that the

trial be discontinued for futility based on its interim data analysis. The IDMC concluded that the

trial was unlikely to demonstrate a statistically significant improvement in overall survival in the

combination treatment arrr^, utilizing the intent-to-treat population at the pre-specified number        of

290 events (deaths), the original primary endpoint of the study. Notwithstanding the IDMC's

recommendation, following a meeting with the U.S. Food and Drug Administration (the "FDA"),

the Company determined to continue the ADAPT trial until at least the pre-specified number of

290 events occurred, and to submit to the FDA a protocol amendment to increase the pre-

specified number of events for the primary analysis of overall survival in the trial beyond 290


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events. In April 2018, the Company submitted a protocol amendment to the FDA that included

an amended primary endpoint analysis with four co-primary endpoints. Subsequently,                      the

Company conducted another interim analysis of the data from the ADAPT tnal, at which time 51

new events (deaths) had occured subsequent to the February 2017 interim analysis. Based upon

review of the interim data from this analysis, the Company determined to discontinue the ADAPT

clinical trial as of April 2018. The Companydoes not expectto resume clinical developmentof

rocapuldencel-T.

             18.       After termination of the ADAPT trial, and based on its review of the status of its

internal programs, resources and capabilities, Argos has determined to explore a wide range of

strategic alternatives including a potential merger or sale of the Company, among other potential

alternatives that would have maximized both near and long-term value                  for all of    Argos'

stakeholders.

            Initíøl Marketíng Process

             19.       From April 18 through June 22,2018, the Company, with the assistance of Stifel,

Nicolaus        & Company, Incorporated       ("Stifel"), marketed itself to potential strategic   partners

interested in a reverse merger or other transaction, so as to utilize Argos' intellectual property and

manufacturing capabilities as well as its position as a publicly traded entity. In particular, the

Company and Stifel contacted thirty seven (37) pafües all of which primarily had a focus on cell

immunotherapy oncology approaches andlor were recognized contract development and

manufacturing concerns. No viable transaction was achieved through this initial marketing

process. Of the targets who declined to execute a transaction, the reasons given included one or

more of the following principal concerns: general strategic fit, focus on their own products and




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    fundraising, desire to become public through a traditional IPO pathway, the Company's lack of

    NASDAQ listing and the Company's net cash position

             Subsequent Marketíng Process and Selectíon of Stølkíng Horse Bidder

             20.        On July 30,2018, the Company engaged SSG Advisors, LLC ("SSG") to evaluate

    its operations and present strategic alternatives to the Company's board of directors. After

    analyzing its strategic alternatives, the Company tasked SSG with marketing its assets. SSG has

prepared extensive marketing materials and began marketing the Company's assets in July 2018.

In particular, from the time of its retention in July 2018 through the Petition Date, SSG contacted

over forty-five (45) strategic parties             in addition to the parties with existing non-disclosure
agreements          in an effort to sell the Company's assets. From that marketing process, three        (3)

parties engaged              in   discussions with the Company and received non-confidential information

regarding an acquisition of the Company's assets and one (1) potential purchaser signed a non-

disclosure agreement in order to receive information about the Company's facility and patent list.

             2I.        After receiving and evaluating various proposals, the Debtor selected Cellscript,

LLC       as the stalking horse purchaser (the      "Stalkins Horse Purchaser") in connection with the Sale.

On November 30, 2018, the Debtor and the Stalking Horse Purchaser entered into an                      asset

purchase agreement (as amended, supplemented or modified, the "Asset Purchase Agreement"), a

true and correct copy of which is attached to the Debtor's Bid Procedures and Sale Motion                (as


defined below). The Stalking Horse Purchaser has agreed to (i) purchase substantially all of the

Debtor's equipment, intellectual property, and certain other assets (collectively, the "Assets"); (ii)

assume certain              of the Debtor's liabilities; and (3) assume certain of the Debtor's executory
contracts, subject to higher or otherwise better bids. Among other things, as consideration for the

purchase         of the Debtor's          Assets, the Stalking Horse Purchaser has agreed       to (a) pay


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$1,675,000.00         in   cash; (b) pay cure costs for certain assumed executory contracts which are

estimated to be valued at not less than $1,000; (c) assume certain of the Debtor's liabilities which

are estimated to be valued at not less than 51,444,330; and (d) release (and/or assign to the

Debtor's secured lender) the Stalking Horse Bidder's approximately $2,000,000 unsecured claim,

which is estimated to be valued at not less than $700,000.

            22.       Under the Asset Purchase Agreement, the Debtor has also agreed to certain bid

protections as an inducement to the Stalking Horse Purchaser to enter into the Asset Purchase

Agreement. In particular, in the event that the Debtor enters into an agreement to sell or sells the

Assets to a third-party bidder, the Debtor          will (1) pay to the Stalking Horse   Purchaser a break-up

fee in the amount of $75,000 (the "Break-Up Fee") and (2) pay reimbursement of all reasonable,

documented fees and expenses of the Stalking Horse Purchaser incurred in connection with the

Stalking Horse Purchaser's efforts to negotiate and consummate the Sale, but such reimbursement

shall be capped at $75,000 (the "Expense Reimbursement").

            23. In order to facilitate the Sale, on the Petition Date, the Debtor filed the Bid
Procedures and Sale          Motion. Pursuant to the Bid Procedures, SSG will continue to market          the

Debtor's assets as well as solicit offers to acquire the Debtor's business as a going concern. The

Debtor anticipates conducting an auction on or about January 22,2019.

            24.      The Debtor believes, in the exercise of its business judgment, that the proposed

Sale and auction structure        will foster   an open and competitive process and provide the best option

to maximize value for all of its stakeholders. Indeed, given that the Debtor has a significant cash

burn and no realistic opportunity to obtain financing from the public or private markets, the only

alternative to the Sale would be conversion to Chapter 7 and liquidation. In the Debtor's view,

Chapter 7 liquidation would be exceedingly value destructive and wasteful, as the Debtor would




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immediately lose any remaining going concern value as                  it   attempts to monetize its assets and

distribute value to stakeholders

                                                         ilI.
                           PROPOSED COURSE OF THE, CHAPTER 11 CASE

            25.       The Debtor intends to pursue the Sale in Chapter 11 in order to obtain maximum

value for the benefit of all of its stakeholders. The Debtor has access to unencumbered cash that

will provide it with sufficient liquidity to operate during the Sale process, and the Stalking Horse

Bid sets a floor price for what the Debtor hopes will be an open, competitive and ultimately

successful auction of the Debtor's assets. Shortly after the Petition Date, the Debtor intends to

propose a Chapter 11 plan of liquidation to provide for the orderly liquidation of any remaining

assets after the Sale, and      timely distributions to its stakeholders.

            26.       In order to achieve its goals in Chapter 11, the Debtor seeks the relief set forth in

the First Day Motions, as summarized below.

                                                         IV.

                           FACTS IN SUPPORT OF FIRST DAY PLEADINGS3

            27.      To minimizethe adverse effects of the commencement of this Chapter 11 Case on

the Debtor's ability to effectuate a timely and efficient restructuring process that will preserve and

maximize the value of the Debtor's estate, the Debtor has filed the following First Day Motions:


                      o   Motion of the Debtor for Entry of an Order (A) Authonzing the Maintenance
                          of Bank Accounts and Continued Use of Existing Business Forms and Checks,
                          (B) Authorizrngthe Continued Use of Existing Cash Management System, and
                          (C) Granting Limited Relief from the Requirements of Bankruptcy Code
                          Section 3a5(b);




3
  Capitalized terms not dehned within this Section IV shall have the meaning ascribed to such terms in the respective
First Day Motions.



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                        a   Motion for Entry of an Order Authorizing the Debtor to Pay Prepetition
                            Wages, Compensation, Employee Benefits, and Other Associated Obligations;

                        a   Motion of the Debtor for Entry of Interim and Final Orders (a) Prohibiting
                            Utilities from Altering, Refusing, or Discontinuing Service, (b) Deeming
                            Utilities Adequately Assured of Future Performance, and (c) Establishing
                            Procedures for Determining Adequate Assurance of Payment;

                        o   Motion of the Debtor for Authorization to Pay Certain Taxes and Related
                            Obligations.

          28.           I have reviewed each of the First Day Motions, including any exhibits thereto, and

incorporate by reference each of the factual statements set forth in the First Day Motions. I

believe that the relief requested by the First Day Motions is necessary to enable to the Debtor to

preserve and maximize valte and efficiently implement its restructuring efforts with minimal

disruption and delay.

                                                DECLARATION

          29.       Pursuant      to section 1746 of title 28 of the United States Code, I declare under

penalty of perjury that the foregoing is true and correct.

                                             RELIEF REQUESTED

          30. I respectfully request that the Court grant all relief requested in the First Day
Pleadings and such other and further relief as may be just and proper.


Dated: November 30, 2018


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                                                            ARGOS THERAPEUTICS, INC.



                                                            Matthew Foster
                                                            Chief Restructuring Offi cer




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